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Defendant’s
Exhibit No. 4
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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA


 MAGGIE SMITH, et al.,

                   Plaintiffs,                      Civil Action No. 15-737 (RCL)

           v.

 DISTRICT OF COLUMBIA,

                   Defendant.


                  PLAINTIFFS’ NOTICE OF DEPOSITION PURSUANT TO

                                       FED. R. CIV. P. 30(b)(6)

         Please take notice that, pursuant to Fed. R. Civ. P. 30(b)(6), Plaintiffs, through their

attorneys, will take an oral deposition of the person specified below, on the date and time specified

below, at the place specified below, before a certified court reporter authorized to administer

oaths, for all purposes permitted by the federal rules of civil procedure and other federal law,

including but not limited to for use in trials. Defendant District of Columbia is requested to

designate the person or persons most knowledgeable and prepared to testify on behalf of

American concerning the subject matter described on Attachment A hereto. If necessary, the

deposition will be adjourned until completed.

         This deposition will be videotaped as well as stenographically recorded.

Deponent: the person or persons most knowledgeable and prepared to testify on behalf of the

District concerning the subject matter (MPD process 30(b)(6) topics) described on Attachment A

hereto

Date: any day within the following range: December 10, 2020

Time: 9:00 a.m.
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Place: Remote deposition – details to be provided

If the District cannot agree to a remote deposition:

Faegre Drinker Biddle & Reath LLP 1500 K Street NW, Suite 1100 Washington, DC 20005

Phone: 202/842-8800 Email: bennett.borden@faegredrinker.com

Respectfully submitted,

/s/ William Claiborne

WILLIAM CLAIBORNE
D.C. Bar # 446579
Counsel for Plaintiffs
717 D Street N.W., Ste 300
Washington, DC 20004-2815
Phone 202/824-0700
Email claibornelaw@gmail.com

                                  CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Deposition Notice was emailed on this, day 12-

2-2020 to:

Fernando Amarillas, Esq. at fernando.amarillas@dc.gov
Chief, Equity Section at Office of the Attorney General for the District of Columbia
and Andy Saindon andy.saindon@dc.gov and Brendan Heath

Assistant Attorneys General
400 Sixth Street, N.W., Suite 10100
Washington, D.C. 20001
/s/ William Claiborne
WILLIAM CLAIBORNE D.C. Bar # 446579
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                               MPD/ Other process 30(b)(6) topics

1.     Matching charge descriptors used in MPD databases (including database warehouse) (e.g.,

FIP) with corresponding code sections (e.g., D.C. Code § 22-4503(a)(1) to (6)). Match text charge

descriptors in MPD databases (e.g., FIP) with corresponding code sections and subsections of

D.C. Code § 22-4503(a)(1) to (6).

2.     Matching column header names on all data exports from Cobalt and AFIS with names on

boxes on Arrest Report (attached is Rouse arrest report –DC_M SMITH - 000027-DC_M

SMITH – 000036; marked Confidential and must remain Confidential).




3.     What policies and practices did MPD follow for making arrests on weapons charges during

the Class Period.

4.     What policies and practices did MPD follow for processing persons arrested whether by

MPD or by other agencies on weapons charges during the Class Period.

5.     What policies and practices did MPD follow for searching for criminal history and mental

health background of arrestees processed by MPD on weapons charges during the Class Period

(what sources check, how record, preserve? Paper, ESI?).

6.     What policies and practices were followed for searching for criminal history and mental

health background of arrestees arrested on weapons charges during the Class Period (what sources

check, how record, preserve? Paper, ESI?) if the person were booked at Central Cell Block.
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7.     What criteria and what policies and practices does MPD follow for making decisions on

what offenses to charge on weapons charges during the Class Period; who makes decisions and

who in MPD chain of command reviews and has power to change weapons charges during the

Class Period; how does criminal history and mental health history affect charging decisions

especially regarding six predicates in D.C. Code § 22-4503(a)(1) to (6).

8.     How does MPD book arrestees (including checking and using criminal history reports and

mental health) using what databases , populating what forms [Booking Team proc. criminal history

/ linking Booking Team Proc p. 6] how book D.C. Code § 22-4503(a)(1) to (6)? What call charge?

Populate what fields? Is the process different if person is booked at Central Cell Block and if yes

how.

9.     Under what circumstances and why did MPD hand off arrestees arrested on weapons

charges during the Class Period to Central Cell Block?

10.    How get arrestees from Central Cell Block to courthouses during the Class Period?

11.    Practices of the MPD regarding Hold Requests (requests for arrestees to be detained for

three or five day holds under D.C. Code § 23-1322 or other pretrial detention) for persons

arrested on weapons charges during the Class Period.

12.    What are possible dispositions of an arrest and what fields are those dispositions populated

in and by whom (MPD, Department of Corrections, other) for persons arrested on weapons

charges during the Class Period.

13.    What is the MPD process for screener (case reviewer) to screen arrests by officers to

decide how to dispose?

14.    How MPD inform District prosecutor about criminal history findings

15.    How identify cases referred for prosecution that were no-papered.
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16.   Are the following still effective? Still followed in practice? Standard Operating Procedures,

Booking Team Procedures, September 26, 2003
